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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      ESTATE OF RAFAEL RAMIREZ LARA,
                                         et al.,                                         Case No. 21-cv-02409-PJH
                                  8
                                                       Plaintiffs,
                                  9                                                      ORDER RE: DISCOVERY LETTER
                                                 v.                                      BRIEF AND REFERENCE TO
                                  10                                                     MAGISTRATE JUDGE
                                         COUNTY OF MONTEREY, et al.,                     Dkt. No. 50
                                  11              Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          Before the court is the parties’ joint letter brief regarding a discovery dispute.

                                  15   Having read the letter filed by the parties and carefully considered their arguments and

                                  16   the relevant legal authority, and good cause appearing, the court hereby rules as follows.

                                  17          Plaintiffs request documents generated and/or produced in another jail patient

                                  18   safety case, Hernandez v. County of Monterey et al., No. 13-cv-2354-BLF (N.D. Cal.,

                                  19   filed May 23, 2013). On May 27, 2021, Judge Freeman granted plaintiffs’ request for

                                  20   limited intervention to modify the Hernandez protective order to give the plaintiffs in this

                                  21   case access to the decedent Lara’s medical and custody records, including any incident

                                  22   report or document relating to his death, that were produced in the Hernandez case.

                                  23   Hernandez, Dkt. 700 at 6.

                                  24          The Ninth Circuit “strongly favors access to discovery materials to meet the needs

                                  25   of parties engaged in collateral litigation.” Foltz v. State Farm Mut. Auto. Ins. Co., 331

                                  26   F.3d 1122, 1131 (9th Cir. 2003) (internal citation omitted). “Allowing the fruits of one

                                  27   litigation to facilitate preparation in other cases advances the interests of judicial

                                  28   economy by avoiding the wasteful duplication of discovery.” Id. The Foltz case clearly
                                  1    contradicts defendants’ present arguments—the Hernandez protective order does not

                                  2    serve as an excuse to preclude discovery into Lara-specific materials here. Therefore,

                                  3    defendants are hereby ORDERED to produce all Lara-specific material immediately

                                  4    under the protective order in this case.

                                  5           Pursuant to Local Rule 72-1, this matter is referred to Magistrate Judge Nathanael

                                  6    Cousins for a discovery conference on the parties’ dispute regarding access to the

                                  7    systemic information sought by plaintiffs, including the disputed neutral monitor reports,

                                  8    assessments, audit reports, and corrective action plans.

                                  9           If the parties are unable to reach consensus in the conference with Judge

                                  10   Cousins, then plaintiffs may file a motion to compel specifically setting forth each item at

                                  11   issue. See Civil L.R. 7, 37. Defendants may respond. Id. The Hernandez plaintiffs have

                                  12   made their position known already and are not to participate in this briefing unless
Northern District of California
 United States District Court




                                  13   specifically invited by the court.

                                  14          IT IS SO ORDERED.

                                  15   Dated: December 7, 2021

                                  16                                                /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  17                                                United States District Judge
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                                       cc: MagRef, Assigned M/J, counsel of record
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